Case 2:05-cr-20315-.]DB Document 8 Filed 08/31/05 Page 1 of 2 Page|D 9

Fu£o er ,_\_r.~.... 013-
IN THE UNITED sTATEs DISTRICT COURT
FOR THE WESTERN DIsTRICT OF TEI\H\H~:ssEl[~“]5 hug m FH 3: 39

 

 

 

WESTERN DIVISION
T\HGIJ.F§ ?-,‘», CUJLD
CLEQ;~(, L\,S. t`§i.{§il%€€f CGUHT

UNITED sTATEs OF AMERICA tap C,-F §;*-.'§=-i’»;“»;r\!%

V.

ANTWAN JACKSON 05cr20315-B

ORDER ON ARRAIGNMENT
This cause came to be heard on 03 ' SI‘QS the United States Attomey

 

for this district appeared on behalf of the govemment, and the defendant appeared in person and with
counsel:

NAME lopth (oOSUEU-' who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

!/_’ The defendant, Who is not in Custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the Custody

of the U.S. Marshal.
<_Q . /Zm/a M»-

UNITED STATES MAGISTRATE ]UDGE
CHARGES - 18:922(g)
firearms
Attorney assigned to Case: ]. Murphy

Age: 29

  
 

ENNESSEE

 
 

Notice of Distribution

This notice confirms a copy cfthe document docketed as number 8 in
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Honorable .l. Breen
US DISTRICT COURT

